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                          THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF ALASKA

    In re:                              )
                                        )
    WILLIAM CLAUDE AMBERCROMBIE, )
                                        )               Case No: A18-00135
                Debtor.                 )               Chapter 7
    ____________________________________)

                    DEBTOR’S RESPONSE TO OBJECTION TO EXEMPTION

             COMES NOW Debtor, William Abercrombie, and hereby requests an additional ten days

    to respond to Development Services Group’s Objection to Exemption. Counsel needs additional

    time to draft responses to the requests and to obtain input from Mr. Abercrombie as an errata was

    filed on 8/31/18. A voicemail was left with counsel for Development Services Group, Inc. to

    obtain its position on the proposed extension on September 4, 2018. At this time, no response

    was received from counsel regarding debtor’s request.

             DATED this 4th day of September, 2018 at Fairbanks, Alaska

                                         Gazewood & Weiner, P.C.

                                         /s/ Jason A. Gazewood
                                         Jason A. Gazewood
                                         Attorney for debtor
